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                                               IN THE UNITED STATES DISTRICT COURT
                                               FOR THE SOUTHERN DISTRICT OF TEXAS
                                                        HOUSTON DIVISION

   PATRICK HENRY MURPHY, JR.,            §
       Plaintiff,                        §
                                         §
   v.                                    § CIVIL ACTION NO. 4:19-cv-1106
                                         §
   TDCJ EXECUTIVE DIRECTOR               §
   BRYAN COLLIER, et al.,                §
          Defendants.                    §
      ________________________________________________________________________
                                          DEFENDANT DENNIS CROWLEY’S NOTICE OF
                                              SUBSTITUTION FOR BILLY LEWIS
__________________________________________________________________________________________________________________________________________________________________________________________________________________________________________




                 Defendant Dennis Crowley, in his official capacity as the Senior Warden of the

Huntsville Unit of the Texas Department of Criminal Justice (TDCJ), submits this

notice of substitution of parties pursuant to FED. R. CIV. P 25(d)(1).

                 Billy Lewis was named as a Defendant in above-styled and -numbered cause

in his official capacity only. Mr. Lewis has been promoted to Deputy Division Director

for the Manufacturing, Agribusiness and Logistics Division of TDCJ, effective

December 1, 2020. Effective that same day, Mr. Crowley became the new Senior

Warden of the Huntsville Unit.

                 Dennis Crowley, accordingly, is automatically substituted for Billy Lewis, in

his official capacity only.

                 Defendants Bryan Collier, Bobby Lumpkin, and Dennis Crowley respectfully

request that this Court recognize the substitution of the party.

                                                                                         Respectfully submitted,

                                                                                         KEN PAXTON
                                                                                         Attorney General of Texas

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                          NOTICE OF ELECTRONIC FILING

      I, Amy L. Prasad, Assistant Attorney General of Texas, certify that I have

electronically submitted for filing a true and correct copy of the foregoing in

accordance with the Electronic Case Files system of the Southern District of Texas,

on December 10, 2020.



                                       /s/ Amy L. Prasad
                                       AMY L. PRASAD
                                       Assistant Attorney General



                             CERTIFICATE OF SERVICE

      I, Amy L. Prasad, Assistant Attorney General of Texas, certify that a true

and correct copy of the foregoing has been served on all attorneys of record by

electronic notification through the ECF system for the Southern District of Texas on

December 10, 2020, to all counsel of record.


                                       /s/ Amy L. Prasad
                                       AMY L. PRASAD
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